

People v Galindo (2025 NY Slip Op 50520(U))



[*1]


People v Galindo (Rogelio)


2025 NY Slip Op 50520(U)


Decided on April 15, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on April 15, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



570305/19

The People of the State of New York, Respondent,
againstRogelio Galindo, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Phyllis Chu, J.), rendered March 20, 2019, convicting him, upon a plea of guilty, of forcible touching and menacing in the second degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Phyllis Chu, J.), rendered March 20, 2019, affirmed.
The misdemeanor information charging forcible touching (see Penal Law § 130.52 [1]) and menacing in the second degree (see Penal Law § 120.14 [1]) was jurisdictionally valid because it contained nonconclusory factual allegations that defendant was the individual who, while on a specified subway train at 5:30 p.m., on December 8, 2017, "place[d] his hand on [a] female passenger's upper thigh and rub[bed] his hand back and forth on her upper thigh and groin area," without her consent, and then "wrapped a belt around his right hand, raise[d] it in the air, and r[a]n towards" an off-duty probation officer, who, upon identifying himself, asked defendant to exit the train and leave the passenger alone (see People v Thomas, 220 AD3d 582 [2023], lv denied 41 NY3d 944 [2024]; People v Roldan, 71 Misc 3d 135[A], 2021 NY Slip Op 50426[U] [App Term, 1st Dept 2021], lv denied 37 NY3d 995 [2021]). Assuming these allegations to be true, they addressed each element of Penal Law §§ 130.52 (1) and 120.14 (1), afforded reasonable cause to believe that defendant committed the offenses, and "provided adequate notice to enable [him] to prepare a defense and invoke his protection against double jeopardy" (People v Kasse, 22 NY3d 1142, 1143 [2014]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: April 15, 2025









